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11   Attorneys for Plaintiffs                             SONY COMPUTER ENTERTAINMENT
     Arczar, LLC and GeoVector Corporation                AMERICA LLC
12

13                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                                 SAN FRANCISCO DIVISION
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16
     ARCZAR LLC and GEOVECTOR                              Case No. 3:13-cv-02671-WHO
17
     CORPORATION,
                                                           STIPULATED MOTION FOR
18                                                         DISMISSAL WITH PREJUDICE
                                   Plaintiffs,
19                                                         Ctrm: E, 17th Floor
             v.
                                                           Judge: Honorable William H. Orrick
20
     Sony Computer Entertainment America LLC
21
                                   Defendant.
22

23
             Plaintiffs Arczar, LLC and Geovector Corporation on the one hand, and Defendant Sony
24
     Computer Entertainment America LLC (“SCEA”) on the other hand, pursuant to Fed. R. Civ. P. 41(a)(2)
25
     and (c), hereby move for an order dismissing all of Plaintiffs’ claims in this action WITH PREJUDICE
26
     and all of SCEA’s counterclaims in this action WITHOUT PREJUDICE, subject to the terms of that
27

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     LEGAL28137918.6
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 1

 2 certain agreement entitled “SETTLEMENT AND LICENSE AGREEMENT” and dated February 10,

 3 2014, with each party to bear its own costs, expenses and attorneys’ fees.

 4

 5 Dated: February 25, 2014                                           LOWE & ASSOCIATES, P.C.

 6                                                                              /s/ Kris LeFan
                                                                By:
 7                                                                              KRIS LEFAN
 8                                                                    Attorney for Plaintiffs
                                                                      ARCZAR, LLC AND AND
 9                                                                    GEOVECTOR CORPORATION
10

11 Dated: February 25, 2014                                        SHOOK, HARDY & BACON, L.L.P.
12                                                              By: /s/ Jonathan N. Zerger
13
                                                                      Attorney for Defendant
14                                                                    SONY COMPUTER
                                                                      ENTERTAINMENT AMERICA
15                                                                    LLC
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 2                          ORDER OF DISMISSAL WITH PREJUDICE

 3           CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With Prejudice of

 4 all claims by Plaintiffs Arczar, LLC and Geovector Corporation (“Plaintiffs”) and Dismissal Without

 5 Prejudice of all counterclaims by Defendant Sony Computer Entertainment America LLC (“SCEA”) in

 6 this case, and the Court being of the opinion that said motion should be GRANTED, it is hereby

 7
             ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit by Plaintiffs
 8
     against SCEA are hereby DISMISSED WITH PREJUDICE, and all counterclaims by SCEA against
 9
     Plaintiffs are hereby DISMISSED WITHOUT PREJUDICE, subject to the terms of that certain agreement
10
     entitled “SETTLEMENT AND LICENSE AGREEMENT” and dated February 10, 2014.
11
             It is further ORDERED that all attorneys’ fees, costs, and expenses are to be borne by the party
12
     that incurred them.
13

14
            February 26, 2014
     Dated___________________                                    __________________________________
15                                                                    Honorable William H. Orrick
16                                                                        District Court Judge

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